Case 2:19-cv-13429-PDB-DRG ECF No. 8 filed 11/27/19     PageID.114    Page 1 of 2



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


GENERAL MOTORS LLC,
GENERAL MOTORS COMPANY,                     Case No. 19-cv-13429

                     Plaintiffs,            Honorable Paul D. Borman
       against

FCA US LLC, FIAT CHRYSLER
AUTOMOBILES N.V., ALPHONS
IACOBELLI, JEROME DURDEN,
MICHAEL BROWN,

                     Defendants.


                           NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that Shirin S. Goyal of the law firm of Honigman

LLP hereby enters her appearance as counsel on behalf of Plaintiffs in the above-

referenced matter.

Dated: November 27, 2019             Respectfully submitted,

                                     HONIGMAN LLP
                                     By: s/Shirin S. Goyal
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                                     General Motors Company
Case 2:19-cv-13429-PDB-DRG ECF No. 8 filed 11/27/19           PageID.115    Page 2 of 2




                           CERTIFICATE OF SERVICE
        I hereby certify that, on November 27, 2019, I caused to be electronically filed

a copy of the foregoing with the Clerk of the Court which will send notification of

such filing to all counsel of record.


                                         HONIGMAN LLP

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